                Case 25-00034-eg                  Doc 1     Filed 01/06/25 Entered 01/06/25 09:44:23                             Desc Main
                                                            Document      Page 1 of 10

Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Clouter Creek Reserve LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA IVO SANDS, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  180 Overlook Point Place
                                  100 Sands Preserve Drive                                        APT 5210
                                  Charleston, SC 29492                                            Charleston, SC 29492
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Berkeley                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Clements Ferry RoadTMS # 275-00-00-005,
                                                                                                  Charleston, SC 29406
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




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Debtor    Clouter Creek Reserve LLC                                                                     Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                  proceed under Subchapter V of Chapter 11.
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                      Relationship
                                                 District                                  When                              Case number, if known



 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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                                                             Document      Page 3 of 10
Debtor   Clouter Creek Reserve LLC                                                                 Case number (if known)
         Name

11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Clouter Creek Reserve LLC                                                                 Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       January 6, 2025
                                                  MM / DD / YYYY


                             X /s/       Shane G. Sandusky                                                 Shane G. Sandusky
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Member / Manager




18. Signature of attorney    X /s/ W. Harrison Penn                                                        Date    January 6, 2025
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 W. Harrison Penn District ID #11164
                                 Printed name

                                 Penn Law Firm LLC
                                 Firm name

                                 1517 Laurel Street
                                 Columbia, SC 29201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (803) 771-8836                Email address      hpenn@pennlawsc.com

                                 District ID #11164
                                 Bar number and State




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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 Fill in this information to identify the case:

 Debtor name         Clouter Creek Reserve LLC

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           January 6, 2025                        X /s/ Shane G. Sandusky
                                                                       Signature of individual signing on behalf of debtor

                                                                        Shane G. Sandusky
                                                                       Printed name

                                                                       Member / Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Clouter Creek Reserve LLC
 United States Bankruptcy Court for the: DISTRICT OF SOUTH CAROLINA                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Adam Chapman                                                   Loans to Business                                                                                         $75,000.00
 83 America Street
 Charleston, SC
 29403
 Michael Colucci                                                Loans to Business                                                                                     $1,450,000.00
 903 Osceola Street
 Edisto Island, SC
 29438
 Shawn M. French, Sr.                                           Legal Services                                                                                            $50,000.00
 1476 Ben Sawyer
 Blvd, Ste. 3
 Mount Pleasant, SC
 29464




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                             United States Bankruptcy Court
                                                                       District of South Carolina
 In re      Clouter Creek Reserve LLC                                                                     Case No.
                                                                                  Debtor(s)               Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

            I, Shane G. Sandusky, declare under penalty of perjury that I am the Member / Manager of Clouter Creek Reserve
LLC, and that the following is a true and correct copy of the resolutions adopted by the Board of Directors of said
corporation at a special meeting duly called and held on the 6th day of January, 2025 .

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Shane G. Sandusky, Member / Manager of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy
case on behalf of the corporation; and

        Be It Further Resolved, that Shane G. Sandusky, Member / Manager of this Corporation is authorized and
directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all
acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with
such bankruptcy case, and

        Be It Further Resolved, that Shane G. Sandusky, Member / Manager of this Corporation is authorized and
directed to employ W. Harrison Penn District ID #11164 , attorney and the law firm of Penn Law Firm LLC to represent the
corporation in such bankruptcy case."

 Date       January 6, 2025                                                     Signed /s/ Shane G. Sandusky
                                                                                          Shane G. Sandusky




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                                                                Resolution of Board of Directors
                                                                               of
                                                                       Clouter Creek Reserve LLC




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Shane G. Sandusky, Member / Manager of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy
case on behalf of the corporation; and

        Be It Further Resolved, that Shane G. Sandusky, Member / Manager of this Corporation is authorized and
directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all
acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with
such bankruptcy case, and

        Be It Further Resolved, that Shane G. Sandusky, Member / Manager of this Corporation is authorized and
directed to employ W. Harrison Penn District ID #11164 , attorney and the law firm of Penn Law Firm LLC to represent the
corporation in such bankruptcy case.

 Date       January 6, 2025                                                     Signed    /s/Shane G. Sandusky, Member/Manager



 Date                                                                           Signed




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                                                   LOCAL OFFICIAL FORM 1007-1(b) TO SC LBR 1007-1

                                                              United States Bankruptcy Court
                                                                      District of South Carolina
 In re      Clouter Creek Reserve LLC                                                                    Case No.
                                                                                  Debtor(s)              Chapter    11


                                          CERTIFICATION VERIFYING CREDITOR MATRIX
          The above named debtor, or attorney for the debtor if applicable, hereby certifies pursuant to South Carolina Local Bankruptcy
Rule 1007-1 that the master mailing list of creditors submitted either on computer diskette, electronically filed via CM/ECF, or
conventionally filed in a typed hard copy scannable format which has been compared to, and contains identical information to, the
debtor's schedules, statements and lists which are being filed at this time or as they currently exist in draft form.

            Master mailing list of creditors submitted via:

                        (a)                  computer diskette

                        (b)           scannable hard copy
                        (number of sheets submitted       )

                        (c)             electronic version filed via CM/ECF


 Date:      January 6, 2025                                            /s/ Shane G. Sandusky
                                                                        Shane G. Sandusky
                                                                       Signature of Debtor

                                                                       /s/ W. Harrison Penn
                                                                       Signature of Attorney
                                                                       W. Harrison Penn
                                                                       Penn Law Firm LLC
                                                                       1517 Laurel Street
                                                                       Columbia, SC 29201
                                                                       (803) 771-8836
                                                                       Typed/Printed Name/Address/Telephone

                                                                       District ID #11164
                                                                       District Court I.D. Number




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 Adam Chapman
 83 America Street
 Charleston, SC 29403


 Internal Revenue Service
 Centralized Insolvency Operation
 PO Box 7346
 Philadelphia, PA 19101-7346


 Lending HQ, LLC
 PO Box 20785
 Charleston, SC 29413


 Lowcountry Private Lending, LLC
 c/o John J. Dodds, III
 858 Lowcountry BLVD
 29462


 Mark A. Mason
 465 West Coleman Blvd, Suite 302
 Mount Pleasant, SC 29464


 Michael Colucci
 903 Osceola Street
 Edisto Island, SC 29438


 Shawn M. French, Sr.
 1476 Ben Sawyer Blvd, Ste. 3
 Mount Pleasant, SC 29464


 US Securities and Exchange Commission
 Office of Reorganization
 950 East Paces Ferry Road, NE, Suite 900
 Atlanta, GA 30326-1382
